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           EXHIBIT F
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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

    v.                                                     Case No. 21-CR-00628 (ABJ)

    MICHAEL ANGELO RILEY,

                  Defendant.

                                     DEFENDANT’S WITNESS LIST

            The Defendant’s list of witnesses whom the jury may hear from or about during his case-

in-chief is below. Pursuant to the Court’s Scheduling Order (ECF No. 33), the Defendant

respectfully reserves the right to call unlisted witnesses as necessary to the extent new information

arises or the Defendant modifies its witness list (as it has so reserved its ability to do): 1

         1. Special Agent Stephen Hart, FBI

         2. Special Agent Brandon Merriman, FBI

         3. Special Agent Charles Neilsen, FBI

         4. Civilian with initials B.S.

         5. Civilian with initials J.H.

         6. Civilian with initials M.D.

         7. Civilian with initials J.P.

         8. U.S. Capitol Police Officer with initials V.L.

         9. U.S. Capitol Police Officer with initials G.P.

         10. U.S. Capitol Police Officer with initials J.T.


1
 On August 26, 2022, the Government made a production of discovery to the defense. The review
of that discovery is still ongoing, which may require revisions to the Defendant’s witness and
exhibits lists.
                                                       2
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11. Michael Angelo Riley




                                   3
